Case 3:20-cr-00044-CAR-CHW Document 71-45 Filed 08/18/21 Page 1 of 3

United States of America

Department of the Treasury
Internal Revenue Service

Date: July 28, 2021

CERTIFICATE OF OFFICIAL RECORD

| certify that the annexed is an exact transcript from the Transcript Delivery System for the
account of Marshana El Investment Tr, Business Entity Number XX-XXXXXXX, in respect
fo the U.S. Income Tax Return for Estates and Trusts (1041), for the tax year 2016,

consisting of two (2) pages

under the custody of this office.

IN WITNESS WHEREOF, | have hereunto set my
hand, and caused the seal of this office to be affixed,
on the day and year first above written.

By the direction of the Secretary of the Treasury:

Jay Effon

Supervisory Investigative Analyst

Internal Revenue Service-Criminal Investigation
Delegation Order 11-5 :
GOVERNMENT

EXHIBIT
3-43
Gatalog Number 19002E ‘U.S. GPO: 1997-417-690/61741 Form 2866 (Rev. 09-97)
RAM 07/28/2021

USAO-029491
Case 3:20-cr-00044-CAR-CHW Document 71-45 Filed 08/18/21 Page 2 of 3

¥9) Internal Revenue Service
United States Depattment of the Treasury

{| This Product Contains Sensitive Taxpayer Data

Account Transcript

Request Date: 07-26-2021
Responses Date: 07-26-2021
Tracking Number: 100957431056
FORM NUMBER: 1041
TAX PERIOD: Dec. 31, 2016
TAXPAYER IDENTIFICATION NUMBER: XX-XXXXXXX
MARSHANA EL INVESTMENT TR
MARQUET BUGRESS MATTOX EL TTEE
% MARQUET BUGRESS MATTOX EL TTEE
4279 ROSWELL RD NE STE 208 # NO354
ATLANTA, GA 30342-3705-580
_-- ANY MINUS SIGN SHOWN BELOW SIGNIFIES A CREDIT AMOUNT —-—
ACCOUNT BALANCE: $4,821,117.85
,CCRUED INTEREST: . $540,651.19 AS OF: Aug. 09, 2021
ACCRUED PENALTY: $767,175.65 AS OF: Apr. 15, 2017
‘ACCOUNT BALANCE PLUS ACCRUALS =
(THIS IS NOT A PAYOFF AMOUNT) : $6,128, 944.69
** INFORMATION FROM THE RETURN OR AS ADJUSTED **
TOTAL INCOME: $5,000, 000.00
TOTAL DEDUCTIONS: ; $100.00
FD ING TAX WIHLD: $0.00
’X PICA WGS PD: $0.00
TOT FICA TX: $0;00
TOT MDCR WGS: $0.00
MDCR TX: $0.00
‘RETURN DUE DATE OR RETURN RECEIVED DATE (WHICHEVER IS LATER) Jan. 17; 2018
PROGESSED DATE Apr. 23, 2018
| TRANSACTIONS |
CODE EXPLANATION OF TRANSACTION CYCLE DATE AMOUNT

150 Tax return filed 201814 04-23-2018

n/a 88236-017-01304-8
806 W-2 or 1099 withholding

$2,167,781,.00 -

04-15-20SAO0-029492 00, 000.00
846
841
290

776

290

240

360
474

971

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Refund issued

Refund cancelled

Additional tax assessed

29254-712-17054-8

Interest credited to your account

Refund issued

Additional tax assessed - quick assessment
29251-038-13400-9

Miscellaneous penalty
IRC 6662(c), (dad), (e), (f), (ga), or (h) Accuracy-Related
Penaity

29251-038-13400-9

' Penalty for filing tax return after the due date

Reduced or removed interest credited to your account

Penalty for late payment of tax

Interest charged for late payment

Fees and other expenses for collection

Established non-filing of tax return

Collection due process request received timely

201846

201907

201907

201907

201907

04-23-2018
04~23-2018
12-03-2018

12-03-2018
12-03-2018
02-07-2019
02-07-2019

03-04-2019
12-03-2018

03-04-2019

03-04-2019

04-01-2019
02-19-2019

04-10-2019

$2,032,219.
~$2, 032,219.
So.

—374, 487.
$2,106,706.

$4,200,000,

$840,000,

$74,487,
$21,000.
$350,359.

"$0.

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This Product Contains Sensitive Taxpayer Data

USAO-029493

